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19
20                                    UNITED STATES DISTRICT COURT
21                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
22   GOPRO, INC., a Delaware corporation,             Case No. 5:16-cv-1944-SI
23                       Plaintiff,                   STIPULATION TO CONTINUE
                                                      RESPONSIVE DAMAGES
24                v.                                  CONTENTIONS DEADLINE
25   360HEROS, INC., a Delaware corporation,

26                       Defendant.

27

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     STIPULATION TO CONTINUE RESPONSIVE DAMAGES
     CONTENTIONS DEADLINE – Case No. 16-cv-01944-SI
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1            Pursuant to Local Rules 6-1 and 6-2, Plaintiff GoPro, Inc. and Defendant 360Heros, Inc.
2    hereby jointly stipulate to a request that the Court extend GoPro’s deadline to serve its Patent L.R. 3-9
3    responsive damages contentions. The requested extension of time does not affect the remainder of the
4    case schedule forth by the Court. (Declaration of Ryan Bricker in Support of Stipulation to Continue
5    Responsive Damages Contentions Deadline (“Bricker Dec.”), filed concurrently herewith, ¶ 3.)
6            Patent Local Rule 3-9 calls for service of GoPro’s responsive damages contentions thirty (30)
7    days after 360Heros’ contentions. GoPro’s deadline for serving its Patent L.R. 3-9 contentions is
8    currently set for August 28, 2017, leaving GoPro only twenty-four (24) days to respond. (Docket 74
9    at 2.) GoPro requests the thirty (30) days allowed under Patent Local Rule 3-9 to serve its responsive
10   damages contentions, and therefore sought and secured 360Heros’ stipulation to continue GoPro’s
11   deadline until September 5, 2017. (Bricker Decl. ¶ 4.)
12

13   Dated: August 17, 2017                        Respectfully submitted,
14                                                 KILPATRICK TOWNSEND & STOCKTON LLP
15

16                                                 By:         /s/ Mehrnaz Boroumand Smith
                                                                   Mehrnaz Boroumand Smith
17
                                                   Attorneys for Plaintiff
18                                                 GOPRO, INC.
19
20   Dated: August 17, 2017                        GAUNTLETT & ASSOCIATES
21

22                                                 By:                /s/ James A. Lowe
                                                                          James A. Lowe
23
                                                   Attorneys for Defendant
24                                                 360HEROS, INC.
25   / / /
26   / / /
27   / / /
28   / / /
     STIPULATION TO CONTINUE RESPONSIVE DAMAGES
     CONTENTIONS DEADLINE – Case No. 16-cv-01944-SI
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1                              ATTESTATION REGARDING SIGNATURES
2           Pursuant to Local Rule No. 5-1(i)(3) regarding signatures, I attest under penalty of perjury that

3    I have on file permission to sign for counsel indicated by a “conformed” signature within this e-filed

4    document.

5    Dated: August 17, 2017
6
                                                                  /s/ Mehrnaz Boroumand Smith
7                                                                     Mehrnaz Boroumand Smith
8

9

10                                          [PROPOSED] ORDER
11          Pursuant to stipulation, IT IS SO ORDERED.

12

13   Dated: _________________________
14

15
                                                                         Hon. Susan Illston
16                                                                   United States District Judge
17

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     STIPULATION TO CONTINUE RESPONSIVE DAMAGES
     CONTENTIONS DEADLINE – Case No. 16-cv-01944-SI
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